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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA
__________________________________________
 JOHNNY TRAWEEK,                           )
                                           )
                  Plaintiff,               )
      v.                                   )
                                           )
 MARLIN GUSMAN, MONIQUE FILMORE, and )
 DOES 1-10,                                )
                                           )
                 Defendants.               )


                                          COMPLAINT
         COMES NOW Plaintiff Johnny Traweek, by and through undersigned counsel, to file

this Complaint against the Defendants. In support, he states the following:

   I.         INTRODUCTION

         1.     This case arises out of Defendants’ unlawful imprisonment of Johnny Traweek

for 20 days beyond his court-ordered release date.

         2.     On October 2, 2017, Johnny Traweek was arrested in New Orleans and sent to

Orleans Parish Prison.

         3.     He could not make bail, and so Mr. Traweek spent the next seven months in jail.

         4.     On May 2, 2018, Mr. Traweek appeared in front of Judge Benedict J. Willard and

pled guilty to a battery charge.

         5.     Judge Willard sentenced Mr. Traweek to seven months in the custody of the

Orleans Parish Sheriff, with credit for time served.

         6.     Because Mr. Traweek received a seven month credit-for-time-served sentence and

had been in prison for seven months already, he should have been immediately released.

         7.     But Mr. Traweek was not released.


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        8.       On May 9, 2018, seven days after Mr. Traweek was sentenced to time served, Mr.

Traweek’s attorney, Stas Moroz of the Orleans Public Defenders Office, sent an email to

Monique Filmore and Blake Arcuri at the Orleans Parish Sheriff’s Office asking, in part, why

Mr. Traweek was still in Orleans Parish Prison. Ms. Filmore responded that “First of all Johnny

Traweek was just sentenced on 5/2/18 so his paperwork has not went up yet.”

        9.       On May 14, 2018, Mr. Moroz again contacted Ms. Filmore and Mr. Arcuri,

stating: “Mr. Traweek is still in jail. Could you please ensure that he is released? I understand

that the paperwork has to be send to DOC, but he has now been detained 12 days past his full

term date.” Mr. Arcuri responded that the Orleans Parish Sheriff’s Office could not release Mr.

Traweek since he was a Department of Corrections inmate.1 Ms. Filmore responded that “He

can’t get released until DOC sends him a release. The whole process takes about 2 weeks. He has

to wait!!!!”

        10.      But on May 16, 2018, the Department of Corrections confirmed that the Orleans

Sheriff’s office had not even begun the process of transferring Mr. Traweek.

        11.      On May 22, 2018, Mr. Moroz filed a Writ of Habeas Corpus and Motion for

Immediate Release on behalf of Mr. Traweek.

        12.      At approximately 3:00 pm on May 22, 2018, Mr. Traweek was finally released.

        13.      The law is clear that jailors may not imprison inmates beyond their sentences. See

Porter v. Epps, 659 F.3d 440, 445 (5th Cir. 2011) (“There is a Clearly Established Right to

Timely Release from Prison”).




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  This was wrong. The judge ordered Mr. Traweek to a sentence in the custody of the Sheriff. The court’s minutes
incorrectly suggested that Mr. Traweek was to serve his sentence in the custody of the State. But it doesn’t matter
whose custody Mr. Traweek was supposed to be in - the Sheriff’s Office neither released Mr. Traweek nor delivered
him to the custody of the State. They just continued to hold him.

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         14.   Once a person’s sentence has been served, jailors have a reasonable time in which

to process and release the individual. Courts have repeatedly held that any time in excess of 48

hours is considered unreasonable. Any detention that exceeds that 48-hour timeframe is

considered “overdetention” and constitutes a violation of the individual’s state and federal

constitutional rights. See Powell v. Barrett, 376 F. Supp. 2d 1340, 1354 (N.D.Ga. 2005) (“The

Court has been unable to find any case, whether within or outside of the Eleventh Circuit, in

which the detainment of a properly identified individual for days beyond his scheduled release

date was held constitutionally permissible.”). In some cases, juries have found overdentions as

short as thirty minutes to be a constitutional violation. Davis v. Hall, 375 F.3d 703, 713 (8th Cir.

2004).

         15.   Mr. Traweek endured approximately 20 days of incarceration at Orleans Parish

Prison beyond his lawful release date as a direct result of Defendants’ failure to timely process

his paperwork, causing him to suffer emotional, physical, and other damages.

                               II.    JURISDICTION AND VENUE

         16.   Plaintiff’s claim arises under the Constitution and the laws of the United States.

This Court has jurisdiction over Plaintiff’s claims of federal rights violations, enforceable under

the Fourteenth Amendment and 42 U.S.C. § 1983, pursuant to 28 U.S.C. §§ 1331, 1343(a)(3).

This Court has jurisdiction over Plaintiff’s Louisiana false imprisonment claim in accordance

with 28 U.S.C. § 1367.

         17.   The venue is proper in the Eastern District of Louisiana under 28 U.S.C. §

1391(b)(2). A substantial part of the events giving rise to the claim occurred in Orleans Parish,

Louisiana situated in the Eastern District of Louisiana.




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                                        III.     THE PARTIES

                                                Plaintiff

          18.   Plaintiff Johnny Traweek is of suitable age and capacity to file this suit. At all

relevant time during this suit, Plaintiff was a resident of Orleans Parish in the Eastern District of

Louisiana.

                                               Defendants

          19.   Defendant Marlin Gusman is the Sheriff for the Orleans Parish Sheriff’s Office

and a final policymaker. He is sued in his individual and official capacity. On information and

belief, he is domiciled in Orleans Parish in the Eastern District of Louisiana.

          20.   Defendant Monique Filmore is an employee of the Orleans Parish Sheriff’s

Office. She is sued in her individual and official capacity. On information and belief, she is

domiciled in Orleans Parish in the Eastern District of Louisiana.

          21.   Defendants Does 1 to 10 are as-yet unknown individuals or entities involved in

the overdetention of Johnny Traweek. They are sued in their official and individual capacities.

                                               IV.       FACTS

          22.   Plaintiff realleges and incorporates each and every foregoing paragraph.

A.        Johnny Traweek was sentenced to seven months with credit for time served for
          aggravated assault. His release date should have been May 2, 2018, but he was
          imprionsed until May 22, 2018.

          23.   On October 2, 2017, Johnny Traweek was arrested in New Orleans under

suspicion of aggravated battery and sent to Orleans Parish Prison.

          24.   Mr. Traweek could not post bond and remained incarcerated at Orleans Parish

Prison.




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        25.       On May 2, 2018, Mr. Traweek appeared before Judge Benedict J. Willard and

pled guilty to a aggravated battery charge.

        26.       At the hearing, Judge Willard sentenced Mr. Traweek to “Seven months Orleans

Parish Prison. Give him credit for time served, all to run concurrent. State has agreed to no

multiple bill. This does qualify as a crime of violence.”

        27.       Despite being sentenced to Orleans Parish Prison, Mr. Traweek’s sentence was

entered on Docketmaster as in the custody of the Department of Corrections, reading:

“>SENTENCE: >AS TO COUNT 1, >7 MONTHS, AT DOC >CONCURRENT WITH

THESE CASES: ANY/ALL SENTENCES NOW SERVING. >INCLUDES A CRIME OF

VIOLENCE. >CREDIT FOR TIME SERVED.”

        28.       After being told that he was set for release, Mr. Traweek returned to Orleans

Parish Prison where he gave away all his commissary items and other possessions in anticipation

of his release.

        29.       The next morning, an Orleans Parish Prison guard told Mr. Traweek that he could

not be released until they received paperwork from the Department of Corrections.

        30.       On May 3, 2018, the Orleans Parish Sheriff’s Office created a Letter of Credit for

Mr. Traweek showing that he served his entire seven-month sentence.

        31.       On May 9, 2018, seven days after Mr. Traweek was sentenced to time served,

Stas Moroz of the Orleans Public Defenders Office sent an email to Monique Filmore and Blake

Arcuri at the Orleans Parish Sheriff’s Office asking, in part, why Mr. Traweek was still in

Orleans Parish Prison.

        32.       Ms. Filmore responded to Mr. Moroz’s email: “First of all Johnny Traweek was

just sentenced on 5/2/18 so his paperwork has not went up yet.”



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       33.     On May 14, 2018, Mr. Moroz again contacted Ms. Filmore and Mr. Arcuri,

stating: “Mr. Traweek is still in jail. Could you please ensure that he is released? I understand

that the paperwork has to be send to DOC, but he has now been detained 12 days past his full

term date.”

       34.     Mr. Arcuri responded to Mr. Moroz’s email that the Orleans Parish Sheriff’s

Office could not release Mr. Traweek since he was a Department of Corrections inmate.

       35.     Ms. Filmore also responded to Mr. Moroz’s email, saying: “He can’t get released

until DOC sends him a release. The whole process takes about 2 weeks. He has to wait!!!!” See

Figure 1, below.




       Figure 1: Email correspondence between Traweek’s lawyer and the Sheriff’s office.


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        36.     On May 16, 2018, Mr. Moroz contacted Traci DiBenedetto at the Department of

Corrections and learned that Mr. Traweek’s information had yet to be sent to the DOC, despite

having been overdetained two weeks at that point.

        37.     On May 22, 2018, Mr. Moroz filed a Writ of Habeas Corpus, Motion for

Immediate Release, and Motion to Amend/Reconsider Sentence to convert the Department of

Corrections time to Orleans Parish Prison time on behalf of Mr. Traweek.

        38.     At approximately 3:00 pm on May 22, 2018, Mr. Traweek was finally released,

20 days past the day he should have been a free man.

B.      Johnny Traweek suffered physical harm during his overdetention.

        39.     On July 24, 2018, Mr. Traweek visited Dr. Kendria E. Holt-Rogers at LCMC

Health and is diagnosed with, among other issues, “Edema of both legs” and “Depression with

anxiety.”

        40.     Dr. Holt-Rogers tells Mr. Traweek that his edema diagnosis was the result of a

lack of exercise at Orleans Parish Prison.

        41.     Mr. Traweek’s depression and anxiety issues were also exacerbated by his stay in

Orleans Parish Prison, especially during his period of overdetention during which he did not

understand why he was still incarcerated or how long it would be until he would be released.

C.      Defendants have exhibited a pattern of overdetention.

     42. Defendants have a policy and practice of holding certain people indefinitely – even those

they know should be free.




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   43. When person in Orleans Parish is sentenced to the custody of the Department of

Corrections, OPSO does not immediately hand that person over to the DOC. Instead, they drive

that person’s paperwork to the DOC and then hold the person indefinitely in OPP until the DOC

sends for them to be processed and have their sentence calculated. This sequence can take weeks

or more, and OPSO does not deviate from it even when they know that a person is entitled to

immediate release.

   44. As a result of this and other policies and practices, the Orleans Parish Sheriff’s Office

has routinely overdetained inmates. Often inmates are illegally held, and then released

immediately after their attorneys file habeas corpus motions. Some non-exclusive examples

include:

       45.     Rodney Grant. On June 30, 2016, Rodney appeared for arraignment in Orleans

Parish Criminal District Court on a fifteen-year-old warrant. Judge Camille Buras allowed

Rodney to plead guilty to a one-year sentence, with credit for time served for seven years he had

served at Dixon Correctional Facility. Because seven years is more than one year, Rodney’s

sentence was immediately complete and he should have walked free that day or the next. But

even though they knew that Rodney “shouldn’t have to actually serve any time,” OPSO did not

release Rodney. Instead, they held him at the Orleans Parish Prison for thirteen days before

handing him over to the DOC.

       46.     Antonio Ocampo: On February 20, 2010, Antonio Ocampo was arrested in

Orleans Parish. He plead guilty to two counts of simple battery, and was sentenced to two

concurrent five-month sentences and given credit for time served. His sentence was completed

on August 12, 2010. At some point, an ICE hold was issued for Mr. Ocampo, which could have

extended his incarceration by 48 hours. But the Orleans Parish Sheriff continued to hold him



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until November 15, 2010, when a judge of the U.S. District Court of Eastern Louisiana granted

the writ of habeas corpus of Antonio Ocampo. The judge held that the Sheriff had unlawfully

detained Ocampo, and ordered Ocampo’s immediate release. Ocampo v. Gusman, No. 10-04309

(Nov. 15, 2010). This Court held that “if the prisoner was entitled to be released in August, to

hold him past the due date of the detainer would violate his due process right because he was at

that point entitled to be released.” During the period of his overdetention, Mr. Ocampo filed

repeated written grievances in which he requested to be released.

       47.     Mario Cacho: Mario Cacho completed his sentence for disturbing the peace, New

Orleans Municipal Code 54-405, on August 21, 2009. Upon expiration of his criminal sentence,

Orleans Parish Sheriff Gusman continued to hold Plaintiff Cacho in his custody. Cacho remained

in the custody of Orleans Parish Sheriff Gusman until February 5, 2010, on the purported basis

of a 48-hour ICE hold. Despite filing a grievance with Orleans Parish Prison officials requesting

release, Mr. Cacho was only able to secure his release from Orleans Parish Prison by filing a

federal civil rights complaint with the Department of Homeland Security’s Office for Civil

Rights and Civil Liberties.

       48.     Eddie Copelin: On December 5, 2015, Eddie Copelin was arrested and placed in

the custody of the Orleans Parish Sheriff’s office. On October 14, 2016, Mr. Copelin was

sentenced in Orleans Parish Case No. 527-992 to a two-year sentence, with one year suspended

and one year executory, credit for time served. Thus, even without accounting for good-time

credit or other sentence reductions, Mr. Copelin’s sentence should have been completed as of

December 5, 2016. But Mr. Copelin was not released at that time; he continued to be held at

River Bend. On January 12, 2017, the Roderick & Solange MacArthur Justice Center filed a




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Petition for Writ of Habeas Corpus on Mr. Copelin’s behalf. By the next day, Mr. Copelin was

released. He has filed a civil suit – Copelin v. Gusman, M. D. La. 17-cv-602.

       49.     Phillip Dominick III. Dominick was arrested in 2010. He was a pretrial detainee

from 2010 to 2016. On Sept. 1, 2016, he was sentenced to serve five years DOC (state) time on

September 1, 2016, in case no. 499077. The minute entry from this date explicitly provides that

he is given credit for time served from June 1, 2010, through June 1, 2015. Because Plaintiff

Dominick had been in custody for longer than five years, he was immediately entitled to release.

Instead, OPSO sent him to River Bend. Defendants did not release Mr. Dominick until

December 7, 2016. He has filed a civil suit – Copelin v. Gusman, M. D. La. 17-cv-602.

       50.     Donald Guidry. On December 23, 2014, Mr. Guidry was arrested and placed in

the custody of the Orleans Parish Sheriff’s Office; this arrest is associated with Orleans Parish

Criminal District Court case no. 523577. On July 12, 2016 the Orleans Parish Criminal District

Court sentenced Mr. Guidry to serve five years DOC (state) time, three years suspended. The

Court awarded him credit for time served from December 23, 2014. Having been awarded credit

for time served from his arrest, and being eligible for good time under state law, Mr. Guidry was

entitled to release on September 4, 2016. But OPSO chose to “release” him to East Carroll Parish

without taking the steps necessary to ensure his September 2016 release. OPSO did not process

Mr. Guidry’s “DOC letter of credit” until January 13, 2017. Defendants did not release Mr.

Guidry until January 24, 2017.

       51.     Jessie Crittindon: On July 2, 2014, Jessie Crittindon was arrested and placed in

the custody of the Orleans Parish Sheriff’s office. On August 2, 2016, Mr. Crittindon was

sentenced to two years in case number 521-975, and six months of concurrent time win Case No.

521-590, both with credit for time served. Because Mr. Crittindon had been in custody for longer



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than two years, he should have been immediately released. But he continued to be held at the

River Bend Detention Center. Over the next six months, Mr. Crittindon’s family repeatedly

called the Orleans Parish Sheriff’s office in an effort to secure his release. His mother contacted

East Carroll Parish (where OPSO was holding him) approximately once a week. The family was

told that Mr. Crittondon was eligible for release, but his paperwork was “being processed.” On

January 12, 2017, the Roderick & Solange MacArthur Justice Center filed a Petition for Writ of

Habeas Corpus on Mr. Crittindon’s behalf. By the next day, Mr. Crittindon was released. He has

filed a civil suit – Crittindon v. Gusman, M.D. La. 17-cv-512.

       52.     Leon Burse. On July 8, 2015, Mr. Burse was arrested and placed in OPSO

custody. On August 8, 2016, he was sentenced to serve five (5) years DOC (state) time, four (4)

years suspended in case no. 526057. The Court awarded him credit for time served. Because

Plaintiff Burse had been in custody for longer than one year, he was immediately eligible for

release. On August 18, 2016, ten (10) days after Mr. Burse was entitled to release, the OPSO

Defendants inexplicably transported Mr. Burse to the River Bend Detention Center. Defendants

did not release Mr. Burse until January 11, 2017. Because of the actions and inactions of the

Defendants, he was held in custody 156 days (over five months) past his eligible release date.

Crittindon, R. Doc. 1 at 1. He has filed a civil suit – Crittindon v. Gusman, M.D. La. 17-cv-512.

       53.     Others Similarly Situated to Copelin and Crittindon: According to the Times-

Picayune, “attorneys with the Roderick and Solange MacArthur Justice Center say they believe

more than a 100 individuals who were sentenced in New Orleans but are being held out of parish

at the Riverbend Detention Center in East Carroll Parish are similarly aﬀected by paperwork

problems. Some of those other individuals are being held past their release dates, like Crittindon

and Copelin, the attorneys say, and others are being held without any legal classiﬁcation.” Emily



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Lane, 2 freed after being illegally jailed, but 'over 100' others aﬀected by missing paperwork:

lawyers. New Orleans Times-Picayune, Jan. 13, 2017. Perry Stagg, Deputy Assistant Secretary

of the Department of Public Safety & Corrections, acknowledged this, saying "we know there

are others." Id.

        54.        Monica Jenkins: On December 7, 2016, Monica Jenkins was arrested in Orleans

Parish on one count of misdemeanor aggravated assault. She came to a first appearance in

municipal court on December 8, 2017, where she pled guilty and was ordered released. As of

December 13, 2016, she was still in Defendants’ custody. It is unknown when she was finally

released.

        55.        Garland Johnson: On October 7th, 2016, Mr. Garland was arrested on two

separate municipal cases (1203262 and 1201624) in Orleans Parish. The court ordered him

released to participate in CAP, the municipal court mental health program. On October 13th, Mr.

Garland missed a CAP check-in, and so an attachment is issued for him. The same day, he was

arrested on a new charge. On October 14, he was arraigned for the new charge. The court

ordered him released to the hospital because he was so mentally ill. Instead of taking him to the

hospital, the Sheriff rebooked him for the attachment related to the missed CAP check-in and

shipped him out of the parish for detention. The Sheriff stopped bringing him to court dates, and

so Mr. Johnson sat in prison for six months– even though a judge ordered him released for

mental health treatment. He was only released in March 2017 when his mother convinced

attorneys intervene on his behalf.

        56.        Jonathan Square: On May 2, 2017, Mr. Square plead to probation. As of May 5,

2017, he was still in Defendants’ custody. It is unknown when he was finally released.




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         57.   Melvin Sylvan: On April 25, 2017, Melvin Sylvan plead guilty and was given

credit for time served. The judge gave him a sentence less than the time he had served. His

minute entry expressly stated that “release ordered” and that the executory portion of his

sentence was “satisfied.” The next day, Mr. Sylvan’s attorney noted that he hadn’t been released

and contacted counsel for the Sheriff. Melvin was released at approximately 5:30 p.m. on April

26, 2017.

         58.   Quinton Cruse: On April 8, 2017, Mr. Cruse was to be released from Orleans

Parish Sheriff Office’s custody. As of May 15, 2017, he was still in OPSO custody at the East

Carroll Parish Detention Center. It is unknown when he was finally released.

         59.   Lonnie Kent: On September 18, 2017, Lonnie Kent (Folder: 2454366) was given

a sentence that included 120 days executory in OPP. That was case No. 535668 in Section F. He

got credit for time served, and had already served three months by that point. He should have

been released on October `17, 2017. He was actually released on October 19, 2017, at 11:30 a.m.

Defense counsel contacted the Sheriff’s lawyer and had to file a Petition for Writ of Habeas

Corpus before Mr. Kent was released.

                                  V.      CLAIMS FOR RELIEF

     Count One – Violation of Due Process Pursuant to U.S.C. 42 § 1983 (All Defendants)

         60.   The Due Process Clause of the Fourteenth Amendment is violated when a

prisoner is incarcerated without legal authority. Douthit v. Jones, 619 F.2d 527, 532 (5th Cir.

1980).

         61.   Even if a prisoner is lawfully detained at the beginning of their incarceration,

holding that prisoner beyond the period of their lawful sentence is a due process violation. Whirl

v. Kern, 407 F.2d 781, 791 (5th Cir. 1968); Powell v. Barrett, 376 F. Supp. 2d 1340, 1351 (N. D.



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Ga. 2005) (detainee has constitutional right to be free from continued detention after it was or

should have been known that he was entitled to release).

       62.     Once a prisoner’s lawful sentence has expired, a jailer is allowed a reasonable

amount of time to process and release them, but that time must be well short of forty-eight hours

to be considered reasonable. Barnes v. District of Columbia, 793 F. Supp. 2d 260 (D.D.C. 2011)

(“In recognition of these facts, courts appear to agree that the maximum permissible

administrative delay in the overdetention context likely falls well short of the 48-hour horizon set

out in McLaughlin.”). Once a detainee is ordered to be released, there is substantially less

tolerance for “administrative delay” than in the context of arrestees awaiting probable cause

determinations. See Berry v. Baca, 379 F.3d 764, 771-72 (9th Cir. 2004); Brass v. County of Los

Angeles, 328 F.3d 1192, 1202 (9th Cir.2003); Powell v. Barrett, 376 F.Supp.2d 1340, 1353

(N.D.Ga. 2005).

       63.     Even within a 48-hour period, the question of reasonableness is often left to juries

and overdetentions as brief as 30 minutes have been found to violate the constitution. See, e.g.,

Young v. City of Little Rock, 249 F.3d 730 (8th Cir. 2001) (resulting in $100,000 jury verdict

(upheld on appeal) for plaintiff for 1 hour overdetention at court holding cell and 2 1⁄2 hours at

jail after release order); Barnes, supra, ("[E]ven a thirty-minute detention after being ordered

released could work a violation of a prisoner's constitutional rights under the Fourteenth

Amendment."); Arline v. City of Jacksonville, 359 F.Supp.2d 1300, 1310 (M.D.Fla.2005) (two

and a half hour detention following acquittal presented jury question under Fourth Amendment).

       64.     Here, Mr. Traweek’s lawful sentence expired on May 2, 2018, and he should have

been released from Orleans Parish Prison that day.




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       65.       Mr. Moroz contacted multiple employees of Orleans Parish Prison and the

Department of Corrections as well as filed a Writ of Habeas Corpus, a Motion for Immediate

Release, and a Motion to Amend/Reconsider Sentence to correct the violation, but Mr. Traweek

was detained until May 22, 2018, 20 days beyond the expiration of lawful detention.

       66.       As a result of that overdention, Mr. Traweek suffered loss of liberty, great mental

anguish, humiliation, degradation, physical and emotional pain and suffering, and other grievous

and continuing injuries.

       67.       By depriving Mr. Traweek of his fundamental right to liberty, Defendants

violated the Due Process Clause of the Fourteenth Amendment to the United States Constitution.

As Defendants were acting under the color of state law, Plaintiff’s claims are actionable under 42

U.S.C. § 1983.

             Count Two – Violations of the Louisiana Constitution (All Defendants)

       68.       Article One, Section Two of the Louisiana Constitution of 1974 guarantees that

“[n]o person shall be deprived of life, liberty, or property, except by due process of law.”

       69.       By reason of the same conduct that violated Mr. Traweek’s federal constitutional

rights, Defendants violated his state constitutional rights to liberty and due process.

       70.       This conduct resulted in Mr. Traweek’s overdetention and caused the physical,

emotional, and pecuniary damages as described above and below.

                 Count Three – State Law False Imprisonment (All Defendants)

       71.       The tort of false imprisonment in Louisiana “occur[s] when one arrests and

restrains another against his will without a warrant or other statutory authority. Simply stated, it

is restraint without color of legal authority.” 353 So.2d 969 (La., 1977); see also Miller v. Desoto

Regional Health Sys., 128 So.3d 649, 655-56 (La. App. 3 Cir. 2013). This has been distilled into



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“the following two essential elements: (1) detention of the person; and (2) the unlawfulness of

the detention.” Thomas v. Gulotta (M.D. La., 2017); see also Kennedy v. Sheriff of E. Baton

Rouge, 935 So.2d 669, 690 (La. 2006).

       72.     There is no need that the unlawful detention be an intentional act by Defendants

or that there must be evidence of malice. Fontenot v. Lavergne, 365 So.2d 1168 (La.App. 3d

Cir.1978); Prisk v. Palazzo, 95–1475, pp. 4–5 (La.App. 4 Cir. 1/19/96), 668 So.2d 415, 417

(“The civil cause of action for false imprisonment requires proof of restraint without color of

legal authority ... There is no requirement of proving that the confinement be intentional.”).

       73.     Here, Mr. Traweek was detained, which fulfills the first element.

       74.     The second element – that the detention be unlawful – is fufilled as Mr. Traweek

was overdetained 20 days beyond the expiration of his lawful imprisonment. See, Whirl v. Kern,

407 F.2d 781, 791 (5th Cir. 1968); Powell v. Barrett, 376 F. Supp. 2d 1340, 1351 (N. D. Ga.

2005) (detainee has constitutional right to be free from continued detention after it was or should

have been known that he was entitled to release).

                     Count Four – State Law Negligence (All Defendants)

       75.     Plaintiff realleges and incorporates each and every foregoing paragraph.

       76.     Defendants’ conduct of overdetention described above caused Mr. Traweek harms

as described above and below.

       77.     Due to their professional roles as jailers, Defendants owed duties to avoid

overdetention and other harms to persons in their custody, including Mr. Traweek.

       78.     These duties were breached by Defendants’ acts and omissions, including the

failure to timely release Mr. Traweek even after the error was repeatedly brought to Defendants’

attention by Mr. Moroz. A duty was also breached by Defendant Doe who incorrectly recorded



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that Mr. Traweek be sentenced to DOC time on Docketmaster and any Defendant Doe who

approved that action.

        79.        The risks and harms that Defendants caused were within the scope of protection

afforded by the duties they owed to Mr. Traweek.

        80.        As a result of Defendants’ acts and omissions, Mr. Traeek suffered actual and

foreseeable harm.

                          Count Five – Failure to Intervene (All Defendants)

        81.        Plaintiff realleges and incorporates each and every foregoing paragraph.

        82.        In the manner described above, during the constitutional violations described

herein, one or more of the Defendants stood by without intervening to prevent the violation of

Mr. Traweek’s constitutional rights, even though they had the opportunity to do so, especially

after the overdetention was brought to their attention by Mr. Moroz.

        83.        As a result of Defendants’ failure to intervene to prevent the violation of

Plaintiff’s constitutional rights, Mr. Traweek suffered actual pain and injury, as well as

emotional distress. Defendants had ample, reasonable opportunities to prevent this harm but

failed to do so.

              Count Six – Monell and Failure to Train/Supervise (Marlin Gusman)

        84.        Plaintiff realleges and incorporates each and every foregoing paragraph.

        85.        The misconduct described above was caused by the policies, practices, and

customs of Defendants, in that their employees and agents regularly overdetain persons who are

subject to release.

        86.        The above-described widespread practices, which were so well settled as to

constitute the de facto policy of Defendants, were allowed to exist because policymakers with



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authority over there acts exhibited deliberate indifference to the problem, thereby effectively

ratifying it.

        87.      The polices, practices, and customs set forth above were the driving force behind

the numerous constitutional violations in this case that directly and proximately caused Plaintiff

to suffer the grievous and permanent injuries and damages set forth above. See Hinojosa v.

Livingston, 807 F. 3d 657, 665 (5th Cir. 2015) ("[w]hether a prison official had the requisite

knowledge of a substantial risk is a question of fact subject to demonstration in the usual ways,

including inference from circumstantial evidence, and a factfinder may conclude that a prison

official knew of a substantial risk from the very fact that the risk was obvious.”), quoting Farmer

v. Brennan, 511 U.S. 825, 842, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994).

        88.      Furthermore, the widespread practices described in the preceding paragraphs were

allowed to flourish because Defendants declined to implement sufficient training or any

legitimate mechanism for oversight or punishment of officers and agents.

                      Count Seven – Respondeat Superior (Marlin Gusman)

        89.      Plaintiff realleges and incorporates each and every foregoing paragraph.

        90.      While committing the misconduct alleged in the preceding paragraphs, some

Defendants and others were employees, members, and agents of Marlin Gusman and acting

within the scope of their employment.

        91.      Defendant Marlin Gusman is therefore liable as principal for all torts committed

by his agents.

                        Count Eight – Indemnification (Marlin Gusman)




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         92.      Louisiana law provides that public entities are directed to pay any tort judgment

for compensatory damages for which employees are liable for actions taken in the discharge of

their duties that are within the scope of their employment activities.

         93.      While committing the misconduct alleged in the preceding paragraphs, some

Defendants and others were employees, members, and agents of Marlin Gusman and acting

within the scope of their employment.

         94.      Defendants Marlin Gusman are therefore obligated by Louisiana statute to pay

any judgment entered against its employees.

   VI.         RELIEF REQUESTED

         95.      Wherefore Plaintiff requests judgment be entered against Defendants and that the

Court grant the following:

               a. Declaratory relief;

               b. Judgment against Defendants for Plaintiff’s asserted causes of action;

               c. Award of compensatory damages;

               d. Award of special damages;

               e. Award costs and attorney’s fees pursuant to 42 U.S.C. § 1988, 42 U.S.C. § 12205,

                  28 C.F.R. § 35.175, and 29 U.S.C. § 794a(b);

               f. A permanent injunction requiring Defendants to end their practice of

                  overdetention.

               g. Order such other and further relief, at law or in equity, to which Plaintiff may be

                  justly entitled.

         96.      Plaintiff state any and all other causes of action may become known through a

trial of this matter on its merits against any and all other parties which are herein named or which



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may be added later, and request any and all other damages or remedies which this Court may

seem equitable.

       97.     Plaintiff reserves the right to notice of defect to this pleading and reserve the right

to amend or supplement this Petition after discovery of any additional fact, law or claim, the

amendment of which to be performed by the filing of any subsequent pleading.

                                              Respectfully submitted,

                                              Johnny Traweek, by and through his counsel,

                                              /s/ William Most__________
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